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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


TIMOTHY KING, et al.,

                            Plaintiff,

 v.                                             Case No. 20-13134
                                                Honorable Linda V. Parker

 GRETCHEN WHITMER, et al.,

                            Defendant.
                                           /

                 ORDER STRIKING REQUEST (ECF No. 191)

       On February 17, 2022, a REQUEST (Letter) was entered on the docket by a

 non-party to this case.

       IT IS ORDERED that the REQUEST [ECF No. 191] is STRICKEN.

                                           s/ Linda V. Parker
                                           LINDA V. PARKER
                                           U.S. DISTRICT JUDGE
 Dated: February 18, 2022
